   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 1 of 39




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:07cr61-MHT
ADRIAN LAMONT WHITE                )          (WO)

                               OPINION

    The question presented to the court is whether the

government’s failure to introduce evidence at trial that

the banks involved were federally insured “financial

institutions”      warrants      setting      aside     not    only     a

defendant’s conviction on the substantive offense of bank

fraud in violation of 18 U.S.C. § 1344 but his conviction

for conspiracy to commit bank fraud in violation of 18

U.S.C. § 1349 as well.         The court holds that, under the

evidence presented in this case, the answer is yes.



                           I. BACKGROUND

    On December 13, 2007, after a two-day trial, a jury

convicted defendant Adrian Lamont White of conspiracy to
      Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 2 of 39




commit bank fraud in violation of 18 U.S.C. § 1349 (count

1) and the substantive offense of bank fraud in violation

of 18 U.S.C. § 1344 (count 8).                Sentencing was set for

May 21, 2008.

       On May 19, after reviewing the trial transcript in

preparation for sentencing, the government discovered

that it had failed to introduce evidence at trial that

the banks involved were federally insured “financial

institutions” within the meaning of 18 U.S.C. § 20.                        The

parties agreed to postpone sentencing pending resolution

of the issue.

       After investigating the issue further, the government

filed a motion to dismiss count 8 because conviction

pursuant to § 1344 requires proof that the banks involved

were “financial institutions” at the time of the offense.

The    government      has    not   sought     to   dismiss,     however,

White’s conviction for conspiracy under count 1, arguing

that White’s conviction under § 1349 is valid.                       White




                                      2
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 3 of 39




filed a motion seeking dismissal of both counts given the

government’s admitted evidentiary failures.

                          II. DISCUSSION

              A. The Jurisdictional Requirement
            of the Underlying Bank Fraud Offense

       Bank fraud, as defined in § 1344, requires that the

defrauded    institution      be   a   “financial      institution.”

Under 18 U.S.C. § 20, a “financial institution” includes

an institution insured by the Federal Deposit Insurance

Corporation (FDIC) pursuant to 12 U.S.C. § 1813(c)(2).

       In order to establish federal jurisdiction in a

prosecution for bank fraud under § 1344, the government

must    prove   that   the    banks    involved      were    federally

insured.     United States v. Dennis, 237 F.3d 1295, 1303

(11th Cir. 2001) (“Proof of federally-insured status of

the affected institution is, for ... section 1344[,] ...

a jurisdictional prerequisite as well as an element of

the substantive crime.”) (quoting United States v. Key,

76 F.3d 350, 353 (11th Cir. 1996) (internal quotations

omitted));      United States v. Murrah, 478 F.2d 762 (5th

                                   3
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 4 of 39




Cir. 1973) (“[P]roof of FDIC insured status is a required

element of proof of the offense.             Indeed it is necessary

to    allege      and     prove      it    to     establish       federal

jurisdiction.”).1

      The defendant need not know of the federally insured

status of the bank to sustain a conviction for bank

fraud.     Key, 76 F.3d at 353 (“Whether the defendant knew

of   the    victim      institution's      insured     status     is      not

important. That the defendant knowingly directed his

conduct at a bank that the government can prove was

insured is enough.”).



               B. The Jurisdictional Requirements
                    for Conspiracy when the
                Underlying Offense Is Bank Fraud

      The government may obtain a conviction for conspiracy

to commit bank fraud (assuming satisfactory proof of the



    1.   In Bonner v. Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc), the Eleventh Circuit Court of
Appeals adopted as binding precedent all of the decisions
of the former Fifth Circuit handed down prior to the
close of business on September 30, 1981.

                                     4
      Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 5 of 39




other elements) in either of two ways.                    First, it can

prove that the banks actually were federally insured.

Such proof is sufficient, under United States v. Feola,

420 U.S. 671 (1975), to sustain a conspiracy conviction

if the substantive offense does not require knowledge or

intent      with    respect     to    that    jurisdictional       element

(which, as noted above, § 1344 does not).

       Second, the government may obtain a valid conviction

if it proves that the defendant intended to defraud a

bank that he believed was federally insured, even if it

was not.        Relying on the defendant’s mental state to

establish the necessary federal elements amounts in the

end    to   little     more    than   the     traditional     maxim    that

conspiracy punishes the guilty mind, and that the crime

is not vitiated by mere factual impossibility.                             See

United States v. Williams, 128 S. Ct. 1830, 1843 (2008)

(noting      that,    for     inchoate       crimes   like   conspiracy,

“impossibility of completing the crime because the facts

were not as the defendant believed is not a defense”).



                                      5
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 6 of 39




       While Feola essentially dealt with situations of the

first variety, White’s case is of the second.                           Even

though Feola is thus not directly applicable (because in

that     case   the       actual    facts          supporting     federal

jurisdiction       were    proven),     its        analysis     helps     in

understanding      the     interplay      between      conspiracy        and

substantive offenses with respect to elements that are

jurisdictional.           In   Feola,   the    crime     at   issue     was

assaulting a federal officer.             The question was whether

the defendant’s knowledge of that victim’s federal status

was relevant for either the substantive offense or the

conspiracy.     The Supreme Court found that it was not.

The Court rejected an old line of cases, beginning with

Judge    Learned    Hand’s      opinion       in    United    States      v.

Crimmins, 123 F.2d 271 (2nd Cir. 1941), that reasoned

that even though knowledge of the jurisdiction-creating

facts was not necessary for conviction of the substantive

offense, a knowledge requirement existed for conviction

of conspiracy to commit the substantive offense.                         The



                                   6
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 7 of 39




lengthy opinion in Feola relied heavily on the policies

underlying     conspiracy         law   generally,      as    well      as

Congressional     intent     in    creating    the    jurisdictional

prerequisites for the specific assault statute at issue.

Of crucial importance for White’s case, the Court hinted

at the broader impact of its reasoning on questions of

federal jurisdiction for conspiracy offenses. The Court

first   rather     simply     concluded:      “The    jurisdictional

requirement is satisfied by the existence of facts tying

the proscribed conduct to the area of federal concern

delineated by the statute. Federal jurisdiction always

exists where the substantive offense is committed in the

manner therein described, that is, when a federal officer

is attacked.”     Feola, 420 U.S. at 695.

    Thus, when a federally insured bank is defrauded,

this fact alone is sufficient to establish jurisdiction

over the conspiracy charge.             Feola, then, in all of its

complexity, stands simply for the proposition that when

proof of the jurisdiction-creating facts has been made,



                                    7
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 8 of 39




federal courts have jurisdiction to convict a defendant

of conspiracy even though the defendant had no knowledge

of the existence of those facts--that is, even though the

defendant had no knowledge that she was trouncing upon

federal interests by violating a federal statute and

committing a federal crime.            But proof that the “offense

is committed in the manner therein described” (that is,

that a federally insured bank was defrauded and, thus,

that facts exist “tying the proscribed conduct to the

area of federal concern”) is exactly what is missing in

this case.

    White’s case therefore falls clearly into the second

category--a category exemplified by United States v.

Shively, 715 F.2d 260 (7th Cir. 1983).2             Shively involved



    2. The Fifth Circuit Court of Appeals, when faced
with a similar situation in United States v. Platenburg,
657 F.2d 797 (Oct. 1981), reversed the convictions of
both conspiracy and the substantive offense when it found
that the government had failed to prove the federally
insured status of the bank.      The case contained no
discussion at all, however, of any distinction between
the two categories of offenses and thus offered no
reasoning upon which to rely here.

                                   8
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 9 of 39




18 U.S.C. § 1014, which essentially prohibits making

materially false statements to a federally insured bank.

The defendant in Shively was the president of the bank in

question,    and    he   and    a       co-conspirator    made    false

statements in order to secure a loan from the bank.

Shively, 715 F.2d at 264.        The government failed to prove

that the bank was federally insured at the time the false

statements were made, and the Seventh Circuit agreed that

the defendants could not therefore properly be convicted

of violating § 1014.       Id. at 265.        The court nonetheless

upheld the conspiracy conviction.

       The court in Shively recognized the delicate nature

of the jurisdictional issues involved, and it stated that

the federal government could not use conspiracy law “to

punish all conspiracies to defraud banks, just because

most banks are federally insured.”             Shively, 715 F.2d at

266.    Otherwise, without proof of any facts linking the

case to federal law, the federal government could charge,

through conspiracy law, a potentially infinite class of



                                    9
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 10 of 39




purely state offenses.          Thus, the Court recognized the

common-sense notion that federal jurisdiction be limited

in some way.        The court identified the two limiting

principles.      First, citing to Feola, it stated: “it is

enough if the bank is insured although the defendants do

not know it.”      Second, it explained: “it is also enough

if the defendants intend to defraud a federally insured

bank, even though, unbeknownst to them, the bank has lost

its insurance.”      Id. at 267.        This second prong obviates

the need to prove insurance at the time of the offense if

the defendants thought the bank was federally insured.

As discussed below, the facts in Shively on this question

of the defendant’s mental state could not be in more

stark contrast with the facts here.

    The government supports its position by claiming that

Shively found that “[p]roof that a bank was insured ...

was therefore not required to sustain the conspiracy

convictions.”      Government’s Response (Doc. No. 271 at 7)

(quoting Shively, 715 F.2d at 267) (emphasis added).



                                   10
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 11 of 39




This quotation, plucked out of context from Shively’s

discussion of federal jurisdiction, does far less work

than the government contends.           Indeed, the “therefore” in

Shively actually refers to a discussion earlier in the

same paragraph about the overwhelming evidence in that

case of the defendant’s actual knowledge of the federally

insured status of the institution.             The term “therefore”

indicated that the defendant’s knowledge and belief was

the dispositive factor as opposed to the bank’s actual

status.    Thus, the quotation cannot mean--and indeed, it

most certainly did not mean for the court in Shively--

that proof of federal insurance is always irrelevant to

conspiracy convictions under § 1349.              In fact, it meant

something far less radical; it meant that in some cases,

when there is an intent to defraud a federally insured

bank, it matters not whether that bank happens to be

federally insured and, therefore, matters not that the

government proves that actual insurance at trial.                        In

this way, the Seventh Circuit merely confirmed a long-



                                   11
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 12 of 39




standing    principle       of   conspiracy      law--that      factual

impossibility is not a defense.

       The failure to prove insured status in this case is

thus    akin    to    the   federal      conspiracy      having     been

impossible--that is, it is as if the banks were not in

fact federally insured.          Because conspiracy law punishes

only the agreement, see Feola 420 U.S. at 694, however,

federal conspiracy law may still punish conspiracies that

were actually impossible (in this case “impossible” means

that it was impossible for the conspiracy to actually

violate the federal statute) if the underlying agreement

was sufficiently federal.               Shively indicates that an

agreement      is    sufficiently    federal     if    the   defendant

intended that the target victim be a federally insured

bank.

       Shively makes sense.         As Feola recognized, federal

concerns are sufficiently implicated by a conspiracy for

the purposes of jurisdiction when the underlying offenses

are shown to be actually tied to the federal interests



                                   12
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 13 of 39




identified by Congress.          Feola, 420 U.S. at 695.        Federal

concerns are also sufficiently implicated by an agreement

to violate federal laws, even if no underlying federal

laws    have   actually     been    violated.        Id.        In    both

instances, federal concerns are placed in danger, for

when conspirators come together with the goal of harming

federal    interests,      the    potential     threat     to   federal

concerns is much more significant than when conspirators

come together with the intent to commit a purely state

crime.    When conspirators come together with the belief

that they are committing a non-federal crime, and they do

in fact commit a non-federal crime, it is difficult to

justify federal jurisdiction over their agreement.

       A closer reading of Feola lends even more support to

this logic.     The Supreme Court followed its assertion of

federal    jurisdiction      for    conspiracy      when    the      facts

establish federal jurisdiction for the underlying offense

with a cryptic discussion of situations in which the

crime is not committed “as described” in the underlying



                                   13
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 14 of 39




statute.      Feola, 420 U.S. at 695.            The Court explained

that the defendant’s knowledge of the facts granting

jurisdiction        “may    be   important,      in   some    cases,       in

establishing the existence of federal jurisdiction.” Id.

at 695.      The Court identified those cases as situations

in   which    the    underlying     substantive       offense    was   not

committed as described in the statute; for example, if

the person actually assaulted was not a federal officer

or, extrapolating to White’s case, if the bank defrauded

was not actually federally insured.               See id.     Thus, when

the underlying offense does not provide the proof of the

necessary jurisdictional facts, the Court is suggesting

another passage into the realm of conspiracy liability:

through the knowledge of the defendant.                  In that case,

the key requirement for jurisdictional purposes is rather

simple: “it must be established whether the agreement,

standing alone, constituted a sufficient threat to [the

relevant federal concern] so as to give rise to federal

jurisdiction.”        Id.



                                     14
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 15 of 39




    The Court further explained: “Where the object of the

intended    attack      is    not     identified     with    sufficient

specificity so as to give rise to the conclusion that had

the attack been carried out the victim would have been a

federal officer, it is impossible to assert that the mere

act of agreement to assault poses a sufficient threat to

federal personnel and functions so as to give rise to

federal    jurisdiction.”            Feola,    420   U.S.    at   695-96

(emphasis added).       Thus, when the underlying substantive

offense is incomplete, the Court stressed the importance

of evidence that, had it been complete, the victim’s

status would have been closely related enough to federal

concerns    to    warrant     jurisdiction.          Here,   while   the

problem    is    not   an    uncompleted      conspiracy,    this    case

shares the same flaw fatal to jurisdiction as the Supreme

Court’s example: no evidence was produced that would make

it possible to conclude that the intended victim was a

federally insured bank.             Here, where no evidence exists

that the conduct posed a threat to the specific kinds of



                                     15
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 16 of 39




entities protected by the federal statute, it is just

impossible to assert that a mere agreement to defraud,

just     like     a    mere    agreement       to    assault,      “poses     a

significant threat to federal” interests.

       Although not necessary for its holding in Feola, the

Court therefore explained that proof of knowledge of the

jurisdictional facts may be necessary in some cases,

namely, where that knowledge can provide the only federal

connection to the conspiracy.                 This is such a case.

       A recent Eleventh Circuit case provides additional

confidence in this result.                  In United States v. Campa,

529    F.3d      980   (11th    Cir.    2008),       the      defendant     was

convicted of conspiracy to commit murder under 18 U.S.C.

§ 1117 for shooting down two planes.                          The underlying

substantive offense, 18 U.S.C. § 1111, required that the

murder      be   committed     within       the    special     maritime     and

territorial jurisdiction of the United States.                       Id. at

1007.       The defendant argued that he could not be guilty

of    the    offense     without    proof         that   he    intended     the



                                       16
  Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 17 of 39




shootdown to occur within that jurisdiction (and not

merely in Cuban airspace).            The court relied on Feola to

find    that    intent       with     respect       to     this    purely

jurisdictional element was not necessary either for the

substantive crime or for the conspiracy.                   Importantly,

the    court   stated     its      reason    for    affirming     federal

jurisdiction       over      the     conviction:         “The     evidence

established that the shootdown actually occurred in the

special    maritime     or      territorial    jurisdiction        of    the

United States.”     Id. at 1008 (emphasis added).               Thus, the

proof at trial of the actual predicate facts implicating

the federal statute was the jurisdictional hook that

upheld the conviction.          The court specifically noted that

the defendant “does not argue” that any facts other than

his    knowledge   of     the    location     of   the    incident      were

“insufficient      to   render      his     conspiracy     a    matter    of

federal concern.”         Id. at 1007-08.          Here, however, that

is precisely what White is alleging.                He is therefore in

the very position that the court in Campa distinguished.



                                     17
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 18 of 39




Not only does White assert a lack of knowledge with

respect to the jurisdictional elements (more precisely,

he asserts a lack of evidence sufficient to prove his

knowledge),     but   he   also   essentially      argues     that   the

predicate jurisdictional elements themselves were not

met, and that, therefore, there is simply no way for a

federal court to determine that his case is a matter of

federal concern.

    White’s mental state--his knowledge of whether the

banks were federally insured--is thus key to establishing

federal jurisdiction over the conspiracy charge at this

juncture in the case because the government’s evidentiary

failures at trial have blocked for it the far easier path

toward federal jurisdiction.



    C.     The Sufficiency of the Evidence at Trial

         The government argues that it did in fact present

sufficient evidence at trial to show that “White was

aware of the banking system and that he was defrauding



                                   18
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 19 of 39




banks, which were national banks, required by law to be

federally insured.”          Government’s Cross-Brief (Doc. No.

285) at 4.        It attempts to support this assertion with

references to trial testimony that purportedly meet its

burden, including that White had opened and operated

several bank accounts that he used “for at least four or

five years.”        The government also notes that the banks

involved are actually national banks and included the

words N.A. or “National Association” in some of their

records and corporate titles.                There was, however, no

testimony that White thought the banks involved here were

federally insured.

      In determining whether federal jurisdiction exists,

the    court    examines     the    sufficiency        of    the    evidence

offered by the government.           United States v. Key, 76 F.3d

350, 353 (11th Cir. 1996) (“Whether the government proved

the jurisdictional element is measured as a challenge to

the sufficiency of the evidence.”).                Thus, the concepts

of    jurisdiction       and    sufficiency       of        proof   of   the



                                     19
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 20 of 39




substantive elements merge.              The relevant inquiry in

making this determination is whether a reasonable jury

could have found the jurisdictional element to have been

satisfied beyond a reasonable doubt.               Id.

      A review of cases applying this standard in similar

contexts shows that the government clearly did not meet

its   burden   in   White’s     trial.       The   Eleventh     Circuit

examined at length what quantum of evidence is sufficient

for proving federally insured status in a bank-fraud

prosecution in United States v. Dennis, 237 F.3d 1295

(11th Cir. 2001).          In that case, a government agent

testified that the banks involved were federally insured.

However, the court found that this testimony was not

sufficient to establish the element:

          “The agent's conclusion that the bank
          was federally insured appears to be
          premised upon his belief that because a
          bank is a ‘national bank,’ it is
          necessarily a ‘federally insured bank.’
          This reasoning lacks legal support. A
          ‘national bank’ is not necessarily
          ‘federally insured.’ As demonstrated by
          pertinent statutory provisions, the two



                                   20
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 21 of 39




          concepts   are          distinct       and      not
          synonymous.”

Dennis, 237 F.3d at 1305.         The court also noted that none

of the documents in evidence gave “any indication that

the bank was federally insured.”                Thus, the court in

Dennis found that the evidence was insufficient to prove

beyond a reasonable doubt that the bank in question was

federally    insured.         Similarly,      here,     none    of     the

documents offered by the government in White’s trial

contains any indications of insurance, such as “Member

FDIC.”    The court in Shively also addressed this issue;

it noted that, even though “national banks are required

by law to be insured by the FDIC, you cannot infer from

the fact that someone is required by law to do something

that he has done it....        [A] national bank like any other

bank can lose its insured status.”             Shively, 715 F.2d at

265 (citations omitted).

    While    this    analysis     technically      applies      only     to

whether the government proved federally insured status--

not to whether it proved the defendant’s knowledge of

                                   21
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 22 of 39




that status--it is plainly instructive as to the quantum

of evidence required to infer a defendant’s knowledge

and,     more     specifically,          it   indicates     that     the

government’s arguments about the abbreviation “N.A.” and

the words “National Association” simply cannot be enough.

Moreover, in spite of the government’s vague assertion

that White’s testimony indicated that he had knowledge of

the banking system, there is simply no evidence that

White had knowledge of what these terms and abbreviations

could    mean     or   that   he   was    a   sophisticated     banking

customer who likely would have had any knowledge about

the     federal    deposit     insurance       system.       The    mere

successful use of a few bank accounts for several years--

a task easily completed by millions of Americans--cannot

be sufficient to prove knowledge of the workings of the

federal bank insurance system such that White can be said

to have intended to conspire to defraud federally insured

banks.




                                   22
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 23 of 39




    A review of Shively further supports this conclusion.

In Shively, the defendant was the president of the target

bank, and there was evidence that the bank “had once been

insured” from a certificate of insurance that was several

years   old;    there    was    also     evidence    that    the     bank

“continued     to   represent     to     the   public    that   it   was

insured.”      Shively, 715 F.2d at 267.             These two facts

enabled the jury to conclude that the bank’s president

knew or thought the bank to be still insured.                      Thus,

unlike in White’s case, there was direct evidence that

the bank was federally insured.           As a general matter, the

president of a bank is also far more likely than an

ordinary    customer     to    have     knowledge   of    these    facts

because the president and other officers are responsible

for securing and maintaining that very insurance.                  It is

far more reasonable for a jury to conclude that a bank

president in these circumstances has knowledge of the

insured status of his “national” bank.              The defendant in

Shively could not be more different from White in this



                                   23
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 24 of 39




regard.      White was never asked in any detail about the

extent of his knowledge or experience with the banking

system, and it is not contended that White testified that

he had any knowledge of the federally insured nature of

the banks he defrauded.3             There is simply not enough

evidence for the jury to have concluded that White had

such knowledge.

    Finally,       the    government       argues      that    “it       is

uncontested that each of the banks at issue are in fact,

actual ‘Financial Institutions’ as that term is defined

by 18 U.S.C. § 20.          This is a fact [] over which the

Court may take judicial notice.”                 Government’s Cross

Brief, at 4.      While the government is correct that this

issue   is    uncontested,      it   is    in   fact    the    opposite

proposition that is uncontested given the actual record

in this case; in other words, for the purposes of White’s

case, it is uncontested that the relevant banks are not


    3.   Nor is this surprising because, at trial, the
government was not even attempting to prove White’s
knowledge; rather, it assumed that it had proved actual
insurance.
                                   24
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 25 of 39




federally insured.        The government is confusing its own

common knowledge of the current insured status of several

large banks with what it actually proved to the jury in

this case.      This is an understandable error, and the

impulse to invoke judicial notice of such a seemingly

obvious fact is understandable.             However, if the court

were actually able to address the problem in this manner,

then the government’s motion to dismiss count 8 is indeed

curious.     If such a mistake was uncontested and could

easily be cured by judicial notice, there would be no

need to dismiss the bank fraud conviction in count 8.                    In

fact though, contrary to the government’s claim, the

court cannot take judicial notice of this fact at this

time.

    First, if it were true that the court is empowered to

take such notice, the Eleventh Circuit would never have

engaged in its analysis in Dennis or in any of the other

cases in which appellate courts scrutinized the proof at

trial of the insurance status of a bank.



                                   25
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 26 of 39




    Second, it would be a quantum leap to move from

taking    notice    of    the   fact       that   national   banks   are

required to be federally insured to taking notice of the

fact that a particular bank was insured at a particular

time.    Banks and bank executives, like everyone else, are

prone to occasional errors or lapses, and, for a variety

of reasons, are not always aware of every regulatory

requirement or willing and able to comply with them.                 See

Shively,    715    F.2d   at    265    (noting     that,   even   though

“national banks are required by law to be insured by the

FDIC, you cannot infer from the fact that someone is

required by law to do something that he has done it....

[A] national bank like any other bank can lose its

insured status.” ) (citations omitted).

    Third, proof of insured status is a required element

of the substantive offense, and it must be proven beyond

a reasonable doubt to a jury.              No evidence was presented

to the jury on this question, and a court cannot, after

jury trial, correct this error.               Moreover, even had the



                                      26
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 27 of 39




court taken such notice at trial, the court’s judicial

notice of this fact would have been subject to the jury’s

own   determination.         See    Fed.R.Evid.      201(g)     (“In     a

criminal case, the court shall instruct the jury that it

may, but is not required to, accept as conclusive any

fact judicially noticed.”).          To withhold judicial notice

until after trial would deprive the defendant of the

right to have the jury decide each incriminating fact and

element.4 Neither this court nor any other court has that


    4. The government cites to United States v. Mauro,
501 F.2d 45 (2d Cir. 1974), for the proposition that
insured status can be judicially noticeable. However,
the cryptic opinion in Mauro primarily relies on Byers v.
United States, 175 F.2d 654 (10th Cir. 1949), which is
itself about the sufficiency of indictments.      A court
inferring federally insured status from indications of a
bank’s   national   status   in  an   indictment   is   a
significantly different question from a court sustaining
a conviction based on the same quantum of proof.
Moreover, Mauro was decided prior to Burks v. United
States, 437 U.S. 1 (1978), which held that, because of
Double Jeopardy, courts of appeals could no longer order
new trials when they found that the evidence was legally
insufficient to support the verdict. Mauro explicitly
relied on cases that erroneously assumed that appellate
courts could order new trials, and it seems that Mauro’s
assumption about judicial notice was a product of the
belief that taking such notice would simply be easier
                                           (continued...)
                                   27
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 28 of 39




power.

    The submissions in this case reflect some confusion

over these matters--that is, who proves jurisdiction,

when, by what standard, and relying on what facts.                  Much

of this confusion no doubt is a product of the fact that

many of those involved in the case are fairly certain

that the well-known banks involved are required to be

federally insured--and, by extension, were insured at the

time of the offense.        But the failure to prove that fact

at trial means that, in the world of White’s case,

absolutely nothing is known about these banks.                 Thus, it

simply   cannot     be    established       that    “the    agreement,

standing alone, constituted a sufficient threat” to any

federal concern.       See Feola, 420 U.S. at 695.           Moreover,

the concept of subject-matter jurisdiction can at times

be difficult to understand.             While defects in subject-


    4. (...continued)
than remanding for a new trial or an evidentiary hearing
on the sufficiency of the evidence for that one element.
In any event, to the extent Mauro suggests that courts
may take judicial notice of federally insured status to
affirm a conviction, this court disagrees.

                                   28
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 29 of 39




matter jurisdiction may be raised at any time, see United

States v. Cotton, 535 U.S. 625, 630 (2002), they cannot

necessarily be cured at any time.                 The government has

cited to no authority that would allow the court to

reopen and enlarge an evidentiary record after a jury

verdict.    The government’s understandable desire for the

court simply to acknowledge what appears to be a commonly

known fact cannot be allowed where the proof of that fact

at trial is necessary to both the court’s jurisdiction

and to sustain a conviction under substantive law.

    Because       no   evidence       submitted   at   White’s     trial

establishes any connection whatsoever to federal law or

federal interests--either by proving an actual connection

or an intended connection--there is simply no way for a

federal court to assert jurisdiction over the matter.



                               D. Remedy

    Before     the     court    are    the    defendant’s   motion       to

dismiss    both    counts      and    the    government’s   motion       to



                                      29
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 30 of 39




dismiss count 8.         The government seeks dismissal pursuant

to     Fed.R.Crim.P.       48(a),      which     provides      that    the

“government       may,    with     leave    of    court,     dismiss       an

indictment.”5 The government correctly points to both the

broad power of the government to dismiss indictments and

the significant discretion given to the court in granting

leave to allow such dismissals under Rule 48(a).                       See

United States v. Cowan, 524 F.2d 504, 513 (5th Cir. 1975)

(limiting discretion of trial judge to deny government

leave to dismiss only to cases in which dismissal would

be “clearly contrary to manifest public interest”).                    The

circumstances of the case make the government’s request

for dismissal understandable, and White does not object

to the motion.         Accordingly, count 8 will be dismissed

pursuant to Rule 48(a).             This result, however, removes

only one of White’s improperly tried counts.                   The court




    5. It should be noted that the indictment in this
case sufficiently alleges the federally insured element,
and it is therefore not itself defective.

                                     30
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 31 of 39




is still left with the substance of White’s motion, which

urges the invalidation of both.

    Although White’s motion is styled as a motion to

“dismiss” each count, White offers no authority allowing

the court to dismiss the counts upon motion of the

defendant in these circumstances.             Nonetheless, White’s

submissions also refer to Fed.R.Crim.P. 29 (motion for

judgment of acquittal) as a remedy and are otherwise

completely     consistent      with     a   Rule   29   motion.          In

addition, the government itself urges the court to allow

White to file an untimely Rule 29 motion.                As a result,

any motion by White to dismiss the indictment--to the

extent his motions are styled in that fashion--will be

considered instead as a motion under Rule 29 for a

judgment of acquittal.

    Rule 29(c)(1) requires the defendant to move for a

judgment of acquittal within seven days of the jury

verdict.     It is not disputed that White’s motion is

untimely.    An untimely Rule 29 motion, however, does not



                                   31
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 32 of 39




deprive    the    court   of   jurisdiction       to    entertain    it.

Eberhart v. United States, 546 U.S. 12, 19 (2005), makes

clear that Rule 29 is not jurisdictional, but is rather

a “claim-processing rule.”              Both parties acknowledge,

however, that untimely motions are to be entertained only

if the moving party can show “excusable neglect” under

Fed.R.Crim.P. 45(b)(1).

    Here, the government urges that the court allow

White’s Rule 29 motion with respect to count 8 because of

excusable neglect.        Both parties identify the relevant

standard    for    excusable      neglect.        The    standard        is

flexible, and it may extend to omissions the result of

“inadvertence, mistake, or carelessness.”                Pioneer Inv.

Serv. Co. v. Brunswick Assocs. L.P., 507 U.S. 380, 388

(1993).6    Moreover, the court should consider all the


    6.    While Pioneer was interpreting “excusable
neglect” in the context of the Federal Bankruptcy Rules,
it explicitly noted that the federal courts treat
Fed.R.Crim.P. 45 in a similar way and that both Rule 45
and the bankruptcy rule at issue were modeled after the
same rule of civil procedure (Fed.R.Civ.P. 6(b)).
Pioneer, 507 U.S. at 392 n.9.        Moreover, Eberhart
                                          (continued...)
                                   32
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 33 of 39




relevant circumstances, including the danger of prejudice

to the non moving party, the length and reason for the

delay, and the extent to which it was in the party’s

control.     Advanced Estimating Sys. v. Riley, 77 F.3d

1322, 1325 (11th Cir. 1996).                  In addition, “primary

importance should be accorded to the absence of prejudice

to the nonmoving party and to the interest of efficient

judicial    administration.”            Id.      Here,   the    factors

identified by the parties are particularly persuasive.

None of the parties timely realized the mistake, which is

indeed rather uncommon.          Moreover, both parties are now

seeking redress for the government’s failure in proof,

and there is no danger of prejudice to either.                     While

White could have noticed and objected to the defect, the

primary importance of efficient judicial administration

counsels strongly in the direction of entertaining the

motion.    As the government points out, this kind of error


    6. (...continued)
explicitly recognizes the direct analogy between the
Federal Bankruptcy Rules and the Federal Rules of
Criminal Procedure.
                                   33
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 34 of 39




is clear in the Eleventh Circuit’s case law, and if it is

not corrected now it will certainly be corrected on

appeal.     See United States v. Cotton, 535 U.S. 625, 635

(2002)     (stating      that      defects      in      subject-matter

jurisdiction can never be waived and can be raised at any

time).    Applying that logic to both counts, if the court

is able to correct an error that will save substantial

further litigation, the flexible Rule 45 standard should

accommodate it.

    Admittedly,       the    defense      of   timeliness       can      be

forfeited or waived if the party invoking the rule’s

limitations     “waits      too   long    to    raise    the    point.”

Eberhart, 546 U.S. at 18.               Thus, when the government

“failed to raise a defense of timeliness until after the

District Court had reached the merits, it forfeited that

defense.”    Id. at 19.      Here, the government not only does

not object to White’s Rule 29 motion, but it has urged

the court to consider the untimely motion.                  It is true

that the government urges this with respect to only count



                                   34
     Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 35 of 39




8.     However, the stated reason for the government’s

distinction between the two counts is its belief that the

law    renders     one   count     “viable”     and    the   other    not.

Because this court has determined that neither count is

viable as a matter of law, the distinction the government

sought to draw no longer holds, with the result that

White’s Rule 29 motion should be considered timely as to

both counts 1 and 8.           Moreover, even if only one count

were viable, it would still be difficult to understand

how a Rule 29 motion with respect to one count would be

objectionable       as   untimely     when    the     same   motion   with

respect to another count is not.

      Nonetheless, the court may still, under Rule 45,

allow the motion if excusable neglect is shown.                    If the

government is correct in asserting that the circumstances

in this case justify excusable neglect for count 8, it

seems likely that they justify excusable neglect for

count 1 if the only difference is the level of clarity of

the circuit’s law on the validity of the conviction.                       If



                                     35
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 36 of 39




anything, it would be more excusable for a defendant to

fail timely to object to a defect in the conviction that

was   less   clear    as   a   matter    of    law.    In   fact,    the

government conceded at oral argument that it would be an

“odd result” to treat the two counts differently with

respect to excusable neglect.                 Thus, for all of the

reasons set forth above, White’s neglect in timely filing

his Rule 29 motion was excusable.

      Finally, the various and at times conflicting rules

invoked in support of the parties’ motions indicates some

confusion between them about the relationship between

acquittal based on insufficient evidence and the court’s

finding that it lacked jurisdiction to convict White.

While judgment of acquittal is the natural result when

the elements of a crime have not been sufficiently proven

to the jury, these offenses rely on the proof of those

facts to establish the court’s very authority to hear the

case.   A judgment of acquittal predicated on the failure

to prove the element of federal insurance thus amounts to



                                   36
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 37 of 39




an assertion that the court has no jurisdiction over the

case.    But a Rule 29 motion remains a proper motion to

challenge the failure to prove a required substantive

element, independent of that element’s connection to

jurisdiction.        Moreover, a Rule 29 motion is the natural

motion that White could have made at the conclusion of

all the evidence in order to challenge the sufficiency of

the evidence in support of his conviction.                     Only by

making   a    motion     challenging      the   sufficiency     of   the

evidence could a subsequent determination of jurisdiction

even be made. In fact, this jurisdictional question is

not a preliminary one--it can only be determined after a

trial    on    the   merits.       Thus,    when    jurisdiction         is

inevitably intertwined with sufficiency of a substantive

element, a Rule 29 motion after trial must be a proper

form of attack and relief.

    In       addition,    the     court     has    the     independent

obligation, regardless of the stage of the proceedings

and independent of a specific timely request from the



                                   37
   Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 38 of 39




parties,        to    correct       defects         in     subject-matter

jurisdiction.        Cf. United States v. Betancourth, --- F.

3d ----, 2009 WL 66420 at *3 (11th Cir. Jan. 13, 2009)

(holding that even after a defendant has pled guilty,

challenges to the court’s subject-matter jurisdiction

cannot be waived); United States v. De La Garza, 516 F.3d

1266, 1271 (11th Cir. 2008) (same).                      As a result, the

court’s decision is independently supported by its lack

of power to enter judgment against White.                  Cf. University

of South Alabama v. American Tobacco, 168 F.3d 405, 410

(11th Cir. 1999) (“Simply put, once a federal court

determines       that      it      is        without     subject      matter

jurisdiction,        the   court    is       powerless    to    continue.”)

(citing    Ex    Parte     McCardle,         74   U.S.   506,   514   (1868)

(“[W]ithout jurisdiction the court cannot proceed at all

in any cause.”)).



                                    ***




                                        38
  Case 2:07-cr-00061-MHT-WC Document 334 Filed 02/19/09 Page 39 of 39




    For   all    of   the      reasons   set    forth     above,    the

government   failed     to    prove   the   elements     required       to

convict White of a violation of either 18 U.S.C. § 1344

(bank fraud) or 18 U.S.C. § 1349 (conspiracy to commit

bank fraud).     Accordingly, the government’s and White’s

motions will be granted, and White will be discharged.

An appropriate judgment will be entered.

    DONE, this the 19th day of February, 2009.


                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
